 Case 2:21-cv-00027-RJJ-MV ECF No. 38, PageID.240 Filed 12/30/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


KENNETH KELLEY,

               Plaintiff,
                                                            CASE No. 2:21-cv-27
v.
                                                            HON. ROBERT J. JONKER
AMY MACDOWELL, et al.,

               Defendants.

_______________________________/

                            ORDER APPROVING AND ADOPTING
                             REPORT AND RECOMMENDATION

       Before the Court is the Magistrate Judge’s Report and Recommendation filed on November

8, 2021. (ECF No. 31). The time permitted for objections to the Report and Recommendation has

elapsed. Plaintiff has filed a combined motion to compel discovery and for a court appointed

attorney (ECF No. 32) but he has not filed objections or otherwise responded to the Magistrate’s

Report and Recommendation under 28 U.S.C. § 636(b)(1)(C). To the extent Plaintiff’s motion

can be construed as an objection to the Report and Recommendation, it is unavailing. The Report

and Recommendation thoroughly documents the record and analyzes the factual and legal basis

for concluding Plaintiff failed to exhaust a First Amendment Retaliation theory.

       ACCORDINGLY, IT IS ORDERED that the Report and Recommendation of the

Magistrate Judge (ECF No. 31) is APPROVED AND ADOPTED as the opinion of the Court.

       IT IS FURTHER ORDERED that Defendant Ford’s Motion for Partial Summary

Judgment (ECF No 21) is GRANTED.              Plaintiff’s First Amendment Retaliation claim is

DISMISSED WITHOUT PREJUDICE.
 Case 2:21-cv-00027-RJJ-MV ECF No. 38, PageID.241 Filed 12/30/21 Page 2 of 2




         This case shall proceed only on Kelley’s Eighth Amendment claim. The motion to compel

(ECF No. 32) shall remain pending for a decision on the merits by the Magistrate Judge,



Dated:      December 30, 2021               /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               2
